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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORID A

                             CASE NO .      02-14084 -MARRA/LYNC H

 UNITED STATES OF AMERICA ,


 V.

JOHN MACARI,

                        Defendant.




    GOVERNMENT'S RESPONSE IN OPPOSITION TO MOTION BY WAGNER
 INVESTMENT COMPANY, LLC SEEKING PREFERENCE OVER ALL OTHE R
          VICTIMS FOR RECEIPT OF RESTITUTION IN THIS CASE

        THE UNITED STATES OF AMERICA, through the undersigned Assistant United States

 Attorney, responds in opposition to the motion and memorandum of law (Docket Entries 61 & 62),

 in which Wagner Investment Company seeks preferential treatment from this Court relative to all

 other victims in this case in the receipt of restitution . In support thereof, the government states as

 follows:

1.      INTRODUCTION

        1 . Defendant John Macari pled guilty in this case to one count of wire fraud as charged

 in an information . He did so pursuant to an agreement with the United States which agreement

required that he cooperate with the United States in its continuing investigation in this case and in

which he stipulated to having knowingly and intentionally engaged in a fraudulent scheme along

with George Manter and others .

        2. As the result of the fraudulent scheme perpetrated by Macari and Manter,

 approximately thirty victims thereof suffered net losses totaling $1,911,150 . Ofthat amount, Macari
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pocketed approximately $1,00,000 . '

         3 . On September 16, 2005, Macari appeared before this for sentencing in this cause .

At that hearing, the United States presented testimony concerning further activities by Macari while

awaiting sentencing involving his alleged claim of ownership of some of the same securities that he

fraudulently claimed to own or control in this case . Based on that testimony, the United States

sought to have this Court impose a sentence at the high end of the advisory United States Sentencing

Guidelines range which had been determined by the United States Probation Office to be 18 to 24

months . This Court, while finding that the government had not presented proof by a preponderance

of the evidence that Macari had engaged in additional criminal acts, noted that Macari's behavior

had "a certain odor" to it suggesting that Macari had been less than honest in his post-conviction

business activities . Nevertheless, this Court thereafter imposed a sentence outside of the advisory

guideline range, that is, nine (9) months in prison, a three year term of supervised release, plus

restitution . This Court set a hearing for December 9, 2005, for finalizing issues relating to

restitution .

         4. Prior to the sentencing hearing on September 16, 2005, Macari stipulated to the sale

of his personal residence and that the proceeds of that sale would be applied towards satisfaction of

the restitution order to be entered by this Court at the restitution hearing on December 9, 2005 . This

Court accepted that stipulation and made the terms and conditions thereof part of its judgment an d




       ' The gross amount that Macari and his co-conspirator, George Manter, realized as
proceeds from the instant fraud was $3,164,950 . Of that amount, the government's analysis
shows that Manter paid $1,000,712 to Macari and $230,000 to John and Jeanmarie Juncal . The
evidence also reveals that Manter refunded a total of $1,253,800 to a total of three investors, one
of whom was refunded $990,000 of his $1,000,000 investment .

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 conviction order .

         5 . According to information obtained from Richard Lubin , Macan's atto rney, Macan's

residence was recently appraised at $750,000 . Mr. Lubin has further advised the undersigned that

 the insurance carrier for the property has documented a total of $18 ,000 in damage to the residence

 from Hurri cane Wilma .

        6 . The principals of Wagner Investment Company , LLC, are brothers Vincent and

Joseph Wagner . In 1999 , the Wagners invested $500,000 with George Manter based on the advice

of Leonard Bestgen , a longtime friend of the Wagners . Bestgen met Manter through an intermedia ry

named Stephen Martinez. Based on information received from Manter concern ing a high yield

investment program that he and John Maca ri were offering, Bestgen recommended to the Wagners

that they secure a $500 ,000 placement in that investment program . They did so by wire transferring

$500,000 to Manter ' s corporate account in Flo rida in December 1999 . Contra ry to Manter ' s claims

to Bestgen , and numerous others , there was no investment program , high yield or otherwise . Rather,

there was a fraudulent scheme involving , among others, George Manter and John Maca ri . Pursuant

to that scheme , Manter and Maca ri agreed to share the proceeds of the fraud.

        7 . Wagner Investment Company now seeks not only to obtain restitution that it is due

them in the amount of $500 ,000, something that the Victim Witness Protection Act ce rt ainly

contemplates, but also to do so ahead of, and if necessa ry at the exclusion of, the other victims of

the fraud in this case . The basis of the Wagners ' demand is the fact that the funds transferred by

them to Manter ended up in Maca ri' s account , at least temporarily, funds that the Wagners contend

Macari used as a down payment on the ve ry house that is now the subject of the restitution

proceedings.


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        8. In the attempt to j ustify their request, the Wagners offer extensive analysis of the flow

of funds from their bank account to that of George Manter's corporation, International Banque

Holding Corp . to various accounts held by John Macari . That analysis appears to demonstrate that

Macari used $224,280 .49 towards the purchase and improvement of the house, funds that he

obtained from Manter, which funds Manter had fraudulently obtained from the Wagners and other

victims .

II. DISCUSSION

        The Wagners have asked this Court, in essence , first, to make the list of victims in this case

vertical rather than horizontal, and, second, to place them at the top of the vertical list of victims, not

only to receive the first of the proceeds from the sale of Macari' s residence but also to be fully

reimbursed for their losses before any other victims receive restitution . They offer no legal authority

or precedent for such request and this writer is aware of none . For that reason, and for those reasons

set forth below, the Wagners' motion should be denied and they should be placed in parity with all

other victims in this case .

        The Victim Witness Protection Act (VWPA), as amended in 1996 by the Mandatory Victims

Restitution Act (MVRA), provides a framework that enables victims of specified crimes to receive

compensation from those persons convicted of committing those crimes . 18 U .S .C . § § 3363, 3363A,

3364 . The legislative history for the MVRA is quite illustrative of Congress' intent that the rights

of all covered victims of a fraud such as the one in the instant case be treated fairly and in a manner

consistent with due process requirements . As the Senate Judiciary committee explained :

        This provision [the MVRA] is intended by the committee to clarify that the issuance
        of a restitution order is an integral part of the sentencing process that is to be
        governed by the same, but no greater, procedural protections as the rest of th e


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           sentencing process . . . . the committee believes that this provision fully comports with
           the requirements of the due process clause of the fifth amendment .. .. [T]he
           act. . . ensures the protection of the victim's right to a fair determination of the
           restitution owed . The committee believes this provision will ensure the streamlined
           administration of justice while at the same time protecting the rights of all
           individuals .

s .Rep . No . 104-179 , at 20-21 (1996 ), reprinted in 1996 U.S .C.C.A.N . 924, 933-34 . (Emphasi s

added) .

           As Title 18, United States Code, Section 3664(f)(3)(A) explains ,

           [a] restitution order may direct the defendant to make a single, lump-sum payment,
           partial payments at specified intervals, in-kind payments, or a combination of
           payments at specified intervals and in-kind payments .

Section 3664( I) also states that -

           [i]f the court finds that more than 1 victim has sustained a loss requiring restitution
           by a defendant, the court may provide for a different payment schedule for each
           victim based on the type and amount of each victim's loss and accounting for the
           economic circumstances of each victim .

           Significantly, the MVRA does not specify that any particular type of victim is to be given

priority over another victim . A number of courts have noted, however, that the Act gives the Courts

the right to require pro rata reimbursement of victims or that the MVRA's provisions act to ensure

that the victims of crime receive the pro-rata share of restitution funds to which they are entitled . See,

e.g., United States v. Zakhary, 357 F .3d 186, 191 2d Cir . 2004) ; United States v . Catoggio, 326 F .3d

323, 328 (2d Cir .), cert. denied, 540 U .S . 939 (2003)) . See also, United States v. O'Connor, 321

F.Supp .2d 722, 731 (EDVA 2004) .

           As the Wagners quite correctly point out to this Court, they are entitled to an order of

mandatory restitution against Macari . In that regard, they stand on equal footing with all of the some

30 other victims in this case . Moreover, we agree with them that this Court has the discretion, unde r


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Title 18, United States Code, Section 3664(I) to fashion a payment schedule for each individual

victim based on the type and amount of each victim's loss while accounting for the economic

circumstances of the individual victims . Where the government, on behalf of those other victims,

must part ways with the Wagners, however, is the conclusion reached by them that the foregoing

language would allow this Court to impose a payment schedule that would restore the Wagners to

status quo ante while quite literally disenfranchising the remaining victims .

       Rather, section 3664(I), we submit, allows the Court, in fashioning an equitable restitution

order, to disburse to the victims the restitution amounts received from the defendant based upon

relative loss . For example, in the case of a fraud involving three victims, victim one having been

defrauded of $50,000, victim two of $30,000, and victim three of $20,000, the Court would be well

within its discretion in ordering that each restitution installment payment by the defendant be divided

and disbursed among the victims as follows : 50% to victim one, 30% to victim two, and 20% to

victim three. Nothing in either that section or in the remainder of the MVRA or VWPA suggests

that victim one should be paid his entire loss amount first merely because a portion of his defrauded

funds can be traced to the purchase of a particular asset by the defendant .

       In this case, the facts attendant to the fraudulent scheme in question reveal that the proceeds

of the fraud, which were acquired from the several victims over an extended period of time, were

commingled in bank accounts under the control of George Manter and John Macari . Once

commingled, those funds were used by the defendants to pay for a variety of personal expenditures,

not to obtain placement of the investors in any investment program as promised to the

investor/victims by Manter and Macari . Thus, those funds generally were depleted and removed

from the Manter and/or Macari accounts reasonably quickly after being deposited there .


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        Specifically as to the $500,000 payment by the Wagners to Manter, the government's

 analysis reflects that those funds were deposited to George Manter's IBHC account at Union Planters

 Bank (UPB) on December 23, 1999 . Thereafter, two checks from Manter dated September 7, 1999,

 and made payable to Jamar Enterprises, Inc . (Macari's corporation) in the amount of $400,000 and

 $100,000, respectively, cleared Macari's account on December 27, 1999 . On that same day, United

 Planters Bank, where Manter had his account in the name of International Banque Holding Corp .

 issued three bank checks to Jamar in the amounts of $50,000, $50,000 and $400,000, respectively.

        During the following seven months, Macari used the proceeds of those checks, among other

things, to pay many thousands of dollars in personal debts, to make wire several transfers to Jean

Marie Juncal (a co-conspirator), to purchase a $350,000 Certificate of Deposit, and to make a deposit

towards the purchase of a house, and to pay attorneys fees and closing costs for the house purchase .

He later used that CD as collateral to borrow $75,000, $70,000 of which he used to pay the

remainder of the down payment on that house .

        On July 14, 2000, Macari redeemed the CD for $309,381 .98 (he had already withdrawn

$50,000 from the CD in May 2000) . Thereafter those proceeds were used to pay for a variety of

personal purchases .

        In their motion, the Wagners conclude as follows :

                In summary, Wagner's $500,000 can be directly traced to the house through
        these sources:

                a) $99,263 .94 paid to attorney John Avery and used for down payment,
                     closing costs, attorney's fees and equity in purchase of the Macari
                     hous e

               b) $23,270.00 paid to a cabinet maker for cabinets in the Macari house ;



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                c) $101,746 .55 paid to Macari's son, Stephen Macari, allegedly for
                     improvements to the house .

                These three sources total $224 .280 .49 .

        We do not quarrel with the foregoing figures ; however, we, like the Wagners, are without

 information to either confirm or deny whether the funds paid to Macari's son were related to

 improvements to the house .

        Nevertheless, even ignoring both the legal and equitable reasons why the Wagners' request

for preference in restitution should be denied, their financial analysis is also faulty in that it fails to

provide this Court with justification for ordering full restitution to them before any other victims

receive a dime . Even taking their analysis, as set forth above, as correct, less than half of their

investment with Manter was expended by Macari in connection with the purchase of his house .

        In short, the Wagners have advanced no basis upon which they should receive any preference

in restitution from the proceeds of the sale of Macari's house . Though the Wagners certainly

invested more than most of the other victims of the scheme, they, like all of the other investors, did

so for the same reason : to obtain what by any standards was a staggering return on the invested

principal . That the Wagners were financially capable of sinking a relatively greater principal into

the endeavor should not place them at the top of the heap in sharing the restitution ordered in this

case.

        As a practical matter, based upon the government's investigation into the finances of both

Manter and Macari, it is unlikely that there will be substantial restitution paid in this case beyond

what is realized from the sale of Macari's residence . The reality of the Wagners' request, if granted,

would be that many of the remaining investors would recover very little of their respective losses .



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 III. CONCLUSIO N

         From a reading of the foregoing authority and discussion it follows quite easily that the

 MVRA requires that the Court treat all qualified victims equitably and, while having the discretion

 to fashion a restitution scheme based upon the individual victims involved, must do so without

 preference to one victim at the expense of another . Thus, the United States requests that this Court

 deny the motion of Wagner Investment Company for preference in the receipt of restitution in this

case and that the Court impose an equitable and pro rata distribution among all of the victims in this

 case based on loss .

                                               Respectfully submitted ,

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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was sent by United States

 Mail this a ~5~     day of November 2005 to :

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